

Panattoni Dev. Co., Inc. v Scout Fund I-A, LP (2020 NY Slip Op 06457)





Panattoni Dev. Co., Inc. v Scout Fund I-A, LP


2020 NY Slip Op 06457


Decided on November 12, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 12, 2020

Before: Gische, J.P., Gesmer, Kern, Kennedy, JJ. 


Index No. 654314/12 Appeal No. 12345 Case No. 2019-04143 

[*1]Panattoni Development Company, Inc., Plaintiff-Respondent,
vScout Fund I-A, LP, et al., Defendants-Appellants.


Baker &amp; Botts L.L.P, New York (Joseph C. Perry of counsel) and Baker Botts L.L.P., Dallas, TX (Kristin C. Cope and David M. Genender of the bar of the State of Texas, admitted pro hac vice, of counsel), for appellants.
Baker &amp; Mckenzie LLP, New York (Charles Bart Cummings of counsel) and Baker &amp; Mckenzie LLP, Chicago, IL (Daniel J. O'Connor of the bar of the State of Illinois, admitted pro hac vice, of counsel), for respondent.



Judgment, Supreme Court, New York County (O. Peter Sherwood, J.), entered September 19, 2019, after a nonjury trial, declaring that plaintiff has not breached the August 8, 2008 limited liability company operating agreement of PI Management LLC and dismissing defendants' counterclaims, unanimously affirmed, with costs.
Contrary to defendants' arguments, the trial court properly followed this Court's guidance regarding the controlling contracts (see Panattoni Dev. Co., Inc. v Scout Fund 1—A, LP, 154 AD3d 555 [1st Dept 2017]) in determining that Panattoni did not act as the investment manager for any of the joint ventures, rejecting testimony to the contrary as inconsistent with the weight of the evidence and lacking credibility. In light of the great deference accorded to the trial court's credibility determinations (see Wong v Hsia Chao Yu, 160 AD3d 549, 550 [1st Dept 2018]), there is no basis to disturb the judgment.)
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 12, 2020








